                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA                        )
                                                 )       Case No. 1:09-CR-181
 v.                                              )
                                                 )
 WILLIAM LANDOLT                                 )       COLLIER/CARTER


                               REPORT AND RECOMMENDATION

         A September 14, 2010, letter from Tracy W. Johns, Warden of the Federal Bureau of

 Prisons, Federal Correctional Institution in Butner, North Carolina and a Forensic Evaluation of

 defendant William Landolt were received by the undersigned on September 16, 2010. It is the

 opinion of the evaluator that defendant does not suffer from a severe mental disease or defect

 and is able to understand the nature and consequences of the proceedings against him and to

 assist properly in his defense. It is also the opinion of the evaluator, that at the time of the

 offense, he was able to appreciate the nature and quality or wrongfulness of his actions.

         A waiver of competency hearing was filed on October 7, 2010 (Doc. 811). The Court

 therefore RECOMMENDS on the basis of the waiver and the report that defendant William

 Landolt be found competent to stand trial.1


                                                 s/William B. Mitchell Carter
                                                 UNITED STATES MAGISTRATE JUDGE



         1
         Any objections to this Report and Recommendation must be served and filed within
 fourteen (14) days after service of a copy of this recommended disposition on the objecting
 party. Such objections must conform to the requirements of Rule 59(b)(2) of the Federal Rules
 of Criminal Procedure. Failure to file objections within the time specified waives the right to
 appeal the District Court's order. Thomas v. Arn, 474 U.S. 140, 88 L.Ed.2d 435, 106 S.Ct. 466
 (1985). The district court need not provide de novo review where objections to this report and
 recommendation are frivolous, conclusive or general. Mira v. Marshall, 806 F.2d 636 (6th Cir.
 1986). Only specific objections are reserved for appellate review. Smith v. Detroit Federation
 of Teachers, 829 F.2d 1370 (6th Cir. 1987).


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